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 5
     [Additional counsel appear on signature page.]
 6
                                UNITED STATES DISTRICT COURT
 7
                             NORTHERN DISTRICT OF CALIFORNIA
 8
      CHRISTOPHER TUERPE, Derivatively on
 9    Behalf of SNOWFLAKE, INC.

10                                                    Case No. 3:24-cv-02502-RS
                        Plaintiff,
             v.
11    FRANK SLOOTMAN, MICHAEL P.                      STIPULATION AND ORDER
12    SCARPELLI, BENOIT DAGEVILLE,                    STAYING ACTION AND VACATING
      MARK S. GARRETT, JAYSHREE V.                    CASE MANAGEMENT
13    ULLAL, KELLY A. KRAMER, MICHAEL                 CONFERENCE AND RELATED
                                                      DEADLINES
      L. SPEISER, TERESA BRIGGS, CARL M.
14    ESCHENBACH, and JOHN D. MCMAHON,
15
                        Defendants,
16    and,

17    SNOWFLAKE, INC.
18                  Nominal Defendant.
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                                                                          Case No. 3:24-cv-02502-RS
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 1          Plaintiff Christopher Tuerpe (“Plaintiff”), Defendants Frank Slootman, Michael P.

 2 Scarpelli, Benoit Dageville, Mark S. Garrett, Jayshree V. Ullal, Kelly A. Kramer, Michael L.

 3 Speiser, Teresa Briggs, Carl M. Eschenbach, and John D. McMahon (the “Individual

 4 Defendants”), and Nominal Defendant, Snowflake Inc. (“Snowflake,” together with Individual

 5 Defendants, “Defendants,” and with Plaintiff, the “Parties”), by and through their undersigned

 6 counsel, hereby stipulate and agree as follows and jointly request that the Court enter the below

 7 Order approving this stipulation.

 8          WHEREAS, on April 25, 2024, Plaintiff Christopher Tuerpe filed the complaint in this

 9 action (ECF No. 1, the “Complaint”) against Defendants;

10
            WHEREAS, on May 20, 2024, the Parties filed a stipulation setting Defendants’ time to
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     answer, move, or otherwise respond to the Complaint to July 19, 2024 (ECF No. 10), which was
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     so-ordered by the Court on May 21, 2024 (ECF No. 14);
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            WHEREAS, on May 21, 2024, the Court issued an Order setting an Initial Case
14

15 Management Conference in this action for July 25, 2024, and setting various deadlines for the

16 Parties to file a Case Management Statement and exchange disclosures contemplated by Federal

17 Rule of Civil Procedure 26 (ECF No. 13);

18
            WHEREAS, pending in the United States District Court for the Northern District of
19
     California is a putative securities class action captioned Flannery v. Snowflake, Inc., et al., Case
20
     No. 3:24-cv-01234-PCP (N.D. Cal.) (the “Securities Action”);
21

22          WHEREAS, there is an apparent overlap between the facts and circumstances alleged in

23 this action and the Securities Action, including the potential relevance of many of the same

24 documents and witnesses;

25
            WHEREAS, Snowflake, Frank Slootman, and Michael P. Scarpelli, named Defendants in
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     this action, are also named as defendants in the Securities Action (the “Securities Action
27
     Defendants”);
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 1           WHEREAS, the Securities Action Defendants anticipate filing a motion to dismiss for

 2 failure to state a claim in the Securities Action after the filing of an amended complaint; and

 3
             WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and
 4
     for litigants, the Parties have agreed that, in light of the apparent overlap between the facts alleged
 5
     in this action and the Securities Action, and in light of the fact that the outcome of the anticipated
 6
     motion to dismiss in the Securities Action may inform the proceedings in this action, this action
 7

 8 should be stayed until the court in the Securities Action rules on the anticipated motion to dismiss

 9 the Securities Action;

10           IT IS ACCORDINGLY HEREBY STIPULATED AND AGREED by and between the
11 undersigned counsel for the Parties, subject to approval by the Court, that :

12           (a)     Upon the Court’s endorsement of this Stipulation as an Order of the Court, all
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     proceedings and deadlines in this action, including all deadlines, hearings, and conferences, shall
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     be temporarily stayed until the earliest of (a) such date that the court in the Securities Action enters
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     an order that grants or denies in part or full defendants’ anticipated motion to dismiss in the
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17 Securities Action; (b) a joint request by the Parties to lift the stay; (c) notification that a settlement

18 has been reached in the Securities Action; or (d) an order of this Court lifting the stay hereunder.

19           (b)     No more than thirty (30) days after the stay is lifted, the Parties shall meet and
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     confer concerning a proposed schedule for further proceedings in this action, including whether a
21
     further stay is appropriate, and advise the Court accordingly. This action shall remain stayed until
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     the Parties advise the Court regarding a proposed schedule or competing proposed schedules for
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     further proceedings in this action, including whether a further stay is appropriate.
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25           (c)     Defendants shall not be required to move, or otherwise respond, to the Complaint

26 during the pendency of the stay.

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 1          (d)     Notwithstanding the agreed-upon stay of this action, Plaintiff may file an amended

 2 complaint during the pendency of the stay, but Defendants shall have no obligation to move,

 3
     answer, plead, or otherwise respond to the complaint or any amended complaint during the
 4
     pendency of the stay.
 5
            (e)     The Parties shall meet and confer regarding consolidation of any shareholder
 6
     derivative action filed in, removed to, or transferred to this Court that any Party determines is
 7

 8 related to the this action, and an application for consolidation of such a shareholder derivative

 9 action may be made by Plaintiff, and may be ruled on, notwithstanding the stay, and an application

10 for appointment of leadership for plaintiffs may be made by Plaintiff, and may be ruled on,

11
     notwithstanding the stay if such appointment by the Court has not already been made.
12
            (f)     Notwithstanding the stay, in the event the court in the Securities Action enters an
13
     order that denies in part or full the anticipated motion to dismiss in the Securities Action,
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15 Defendants shall produce to Plaintiff any documents produced to shareholders in response to a

16 litigation demand or books and records demand related to the issues raised in this action, subject

17 to Plaintiff agreeing to the same confidentiality agreement or protective orders for those

18
     productions.
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            (g)     Defendants will notify Plaintiff promptly after becoming aware of any (i) derivative
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     action arising out of the same or substantially the same transactions or events as those alleged in
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     this action that is filed following the execution of this stipulation; or (ii) demand served on
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23 Snowflake pursuant to Section 220(b) of the Delaware General Corporation Law related to the

24 same or substantially the same transactions or events as those alleged in this action served after

25 the execution of this stipulation.

26
            (h)     If another derivative action arising out of the same or substantially the same
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     transactions or events as those alleged in this action is filed following the execution of this
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 1 stipulation and is not stayed by stipulation or motion, Plaintiff may lift the stay in this action by

 2 providing notice to the Court and to Defendants.

 3
             (i)       Defendants shall either (i) make a good faith effort to include Plaintiff in any
 4
     mediation and/or formal settlement talks between the parties to the Securities Action (subject to
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     permission from that court and/or other parties to the mediation and/or settlement conference, as
 6
     well as any insurers), or (ii) mediate with Plaintiff within thirty (30) days of the initial mediation
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 8 session in the Securities Action, provided that there is at least one date during that 30-day period

 9 on which Plaintiff, Defendants, and the agreed-upon mediator are available.

10           (j)       Defendants shall include Plaintiff in any mediation and/or formal settlement talks
11
     between the parties to any related derivative action(s) arising out of the same or substantially
12
     similar transactions or events as those alleged in this action.
13
             (k)       The Initial Case Management Conference scheduled for October 3,
14

15 2024 is vacated, along with all associated deadlines under the Federal Rules of Civil Procedure

16 and the Local Civil Rules for the United States District Court for the Northern District of

17 California, until a date that is convenient for the Court after the stay is lifted.

18
             (l)       This stipulation is without waiver or prejudice to any and all claims, defenses,
19
     arguments, motions, or any requests for other relief that would otherwise be available to the Parties
20
     in this action.
21
             IT IS SO STIPULATED.
22
      DATED: July 16, 2024                            THE BROWN LAW FIRM, P.C.
23                                                    ROBERT C. MOEST
24

25                                                                      /s/ Robert C. Moest
                                                                       ROBERT C. MOEST
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 5                                          Attorneys for Plaintiff

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 7
     DATED: July 16, 2024                   QUINN EMANUEL URQUHART &
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                                            SULLIVAN, LLP
                                            KEVIN P.B. JOHNSON
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10
                                                           /s/ Kevin P.B. Johnson
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20
                                            Attorneys for Defendants
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                                      *      *        *
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 1                          Attestation Pursuant to Civil Local Rule 5-1(h)(3)

 2          Pursuant to Local Rule 5-1(h)(3), I hereby attest that all other signatories listed, and on

 3 whose behalf this filing is jointly submitted, concur in this filing’s content and have authorized

 4
     me to file this document.
 5

 6
     Dated: July 16, 2024                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
 7

 8
                                           By:     /s/ Kevin P.B. Johnson
 9                                                 Kevin P.B. Johnson

10
                                                   Attorney for Defendants
11

12
                                                 ORDER
13
            PURSUANT TO STIPULATION, IT IS SO ORDERED.
14

15

16
             August 5, 2024
     DATED: _________________________              ____________________________________
17                                                 THE HONORABLE RICHARD SEEBORG
                                                   UNITED STATES DISTRICT JUDGE
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